
81 So. 3d 630 (2012)
Phillip R. PERRY, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D12-56.
District Court of Appeal of Florida, Fifth District.
March 9, 2012.
Phillip R. Perry, Madison, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the order denying the motion for postconviction relief in case no. 2005-2890-CF, in the Circuit Court in and for Lake County, Florida. See Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
SAWAYA, PALMER, and COHEN, JJ., concur.
